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UNITED STATES DISTRICT COURT

 

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VS. §
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Defendant. )
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A jury convicted Defendant Iqbal Singh-Sidhu of possessing and distributing controlled
substances and controlled substance analogues and maintaining a drug-related premises The
Court of Appeals affirmed Defendant’s convictions and sentencesl Defendant filed a habeas
corpus motion under 28 U.S.C. § 2255. The Court required the Govermnent to answer as to the
issue of trial counsel’s failure to introduce evidence of a government chemist’s disagreement
over the analogue status of UR-144, failure to cross-examine a government expert, and failure to
adduce rebuttal expert testimonyl The Court ruled there Was no prejudice from any potential
ineffectiveness, because the jury returned special verdicts on each count involving UR-144,
Separately finding that the substances contained both UR-l44 and XLRl l. The Court therefore
denied the motion and declined to issue a certificate of appealability Defendant has asked the

Court to reconsider issuing a certificate of appealability The Court declines to reconsider.

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CONCLUSION
lT iS HEREBY ORDERED that the Motion for a Certificate of Appealability (ECF No.
137) is DENIED.

lT IS SO ORDERED.

Dated this §% éMM/D/Z

      

ROBE C. JONES
s District Judge

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